Case 2:15-ml-02668-PSG-SK Document 1175 Filed 01/19/24 Page 1 of 6 Page ID #:44057



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   12
                            UNITED STATES DISTRICT COURT
   13
                           CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No. 2:15-ml-02668-PSG (SKx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
                                                 MEMORANDUM IN OPPOSITION
   17   THIS DOCUMENT RELATES TO                 TO NFL DEFENDANTS’ MOTION
        ALL ACTIONS                              IN LIMINE NO. 4 TO EXCLUDE
   18                                            REFERENCE TO THE PRICING
                                                 ARRANGEMENTS FOR
   19                                            NFLSUNDAYTICKET.TV
   20                                            JUDGE: Hon. Philip S. Gutierrez
                                                 DATE: February 7, 2024
   21                                            TIME: 2:30 p.m.
                                                 COURTROOM:
   22                                             First Street Courthouse
                                                  350 West 1st Street
   23                                             Courtroom 6A
                                                  Los Angeles, CA 90012
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Case 2:15-ml-02668-PSG-SK Document 1175 Filed 01/19/24 Page 2 of 6 Page ID #:44058
Case 2:15-ml-02668-PSG-SK Document 1175 Filed 01/19/24 Page 3 of 6 Page ID #:44059
Case 2:15-ml-02668-PSG-SK Document 1175 Filed 01/19/24 Page 4 of 6 Page ID #:44060
Case 2:15-ml-02668-PSG-SK Document 1175 Filed 01/19/24 Page 5 of 6 Page ID #:44061



    1   crime”); In re Cathode Ray Tube (CRT) Antitrust Litig., MDL No. 1917, 2016 WL
    2   5871243, at *6-7 (N.D. Cal. Oct. 7, 2016) (denying defendants’ motion in limine
    3   and noting that “[e]vidence of misconduct regarding CDTs would therefore be just
    4   as relevant and no more likely to mislead, confuse, or cause undue delay as
    5   evidence of misconduct regarding CPTs because both are probative of misconduct
    6   regarding a conspiracy to fix the price of CRTs.”); In re Static Random Access
    7   Memory (SRAM) Antitrust Litig., No. 07-md-01819 CW, Order on Motions in
    8   Limine & For Pre-Trial Preparation at 9 (ECF No. 1206) (N.D. Cal. Dec. 16, 2010)
    9   (denying motion to limit evidence of any of Samsung’s conduct related to the
   10   DRAM conspiracy).
   11         For the foregoing reasons, the NFL Defendants’ motion to exclude references
   12   to pricing authority for nflsundayticket.TV should be denied.
   13

   14   Dated: January 19, 2024               Respectfully submitted,
   15

   16                                         By: /s/ Marc M. Seltzer

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